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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

       v.                                 CRIMINAL NO. 1:18CR03-06
                                               (Judge Keeley)

 COLTON JUSTICE KALLEL,

                   Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 166),
      ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

       On March 27, 2018, the defendant, Colton Justice Kallel

 (“Kallel”), appeared before United States Magistrate Judge Michael

 J. Aloi and moved for permission to enter a plea of GUILTY to Count

 Nineteen of the Indictment. After Kallel stated that he understood

 that the magistrate judge is not a United States district judge, he

 consented to tendering his plea before the magistrate judge.

 Previously,    this   Court    had   referred   the   guilty   plea   to   the

 magistrate judge for the purposes of administering the allocution

 pursuant to Federal Rule of Criminal Procedure 11, making a finding

 as to whether the plea was knowingly and voluntarily entered, and

 recommending to this Court whether the plea should be accepted.

       Based upon Kallel’s statements during the plea hearing and the

 government’s proffer establishing that an independent factual basis

 for the plea existed, the magistrate judge found that Kallel was

 competent to enter a plea, that the plea was freely and voluntarily
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 given, that he was aware of the nature of the charges against him

 and the consequences of his plea, and that a factual basis existed

 for the tendered plea. On April 3, 2018, the magistrate judge

 entered an Amended Report and Recommendation Concerning Plea of

 Guilty in Felony Case (“R&R”) (dkt. no. 166) finding a factual

 basis for the plea and recommending that this Court accept Kallel’s

 plea of guilty to Count Nineteen of the Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R. The parties did not file

 any objections to the R&R.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Kallel’s guilty plea, and ADJUGES him GUILTY of the crime

 charged in Count Nineteen of the Indictment.

       Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.



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         Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

         1.   The Probation Officer shall undertake a presentence

 investigation of Kallel, and prepare a presentence report for the

 Court;

         2.   The Government and Kaleel shall provide their versions of

 the offense to the probation officer by April 26, 2018;

         3.   The presentence report shall be disclosed to Kallel,

 defense counsel, and the United States on or before June 26, 2018;

 however, the Probation Officer shall not disclose any sentencing

 recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

         4.   Counsel may file written objections to the presentence

 report on or before July 11, 2018;

         5.   The Office of Probation shall submit the presentence

 report with addendum to the Court on or before July 23, 2018; and

         6.   Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the

 factual basis from the statements or motions, on or before July 23,

 2018.




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       The magistrate judge remanded Kallel to the custody of the

 United States Marshal Service.

       The   Court   will   conduct    the       sentencing    hearing      for   the

 defendant    on   Wednesday,   August      1,    2018   at   1:00   P.M.    at   the

 Clarksburg, West Virginia point of holding court.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to

 counsel of record and all appropriate agencies.

 DATED: April 18, 2018


                                      /s/ Irene M. Keeley
                                      IRENE M. KEELEY
                                      UNITED STATES DISTRICT JUDGE




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